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1    KAMALA D. HARRIS
     Attorney General of California
2    DANIEL ROGERS
     Deputy Attorney General
3    VINCENT P. LAPIETRA
     Deputy Attorney General
4    State Bar No. 255985
      600 West Broadway, Suite 1800
5     San Diego, CA 92101
      P.O. Box 85266
6     San Diego, CA 92186-5266
      Telephone: (619) 738-9049
7     Fax: (619) 645-2044
      E-mail: Vincent.LaPietra@doj.ca.gov
8    Attorneys for Respondent
9                     IN THE UNITED STATES DISTRICT COURT
10                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     DEMETRIUS SISSAC,                             16cv02287-BAS (JLB)
14
                                   Petitioner, NOTICE OF APPEARANCE
15
                 v.
16
17   W.L. MONTGOMERY, Warden,
18                              Respondents.
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21        The California Attorney General, counsel for W.L. Montgomery, Warden,
22   hereby files this Notice of Appearance to inform the Court of assigned counsel for
23   Respondent in this proceeding.
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                                                   Notice of Appearance (16cv02287-BAS (JLB))
Case 3:16-cv-02287-BAS-JLB Document 5 Filed 09/29/16 PageID.44 Page 2 of 3



1         Respondent hereby notifies the Court that the attorney with principal charge of
2    the case is as follows:
3         Vincent P. LaPietra, Deputy Attorney General
          600 West Broadway, Suite 1800
4         San Diego, CA 92101
          P.O. Box 85266
5         San Diego, CA 92186-5266
          Telephone: (619) 738-9049
6         Fax: (619) 645-2044
          E-mail: Vincent.LaPietra@doj.ca.gov
7
8
     Dated: September 29, 2016                      Respectfully submitted,
9
                                                    KAMALA D. HARRIS
10                                                  Attorney General of California
                                                    DANIEL ROGERS
11                                                  Deputy Attorney General
12
13                                                  /s/ Vincent P. LaPietra
                                                    VINCENT P. LAPIETRA
14                                                  Deputy Attorney General
                                                    Attorneys for Respondent
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                                                  Notice of Appearance (16cv02287-BAS (JLB))
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                               CERTIFICATE OF SERVICE

Case Name:         Sissac v. Montgomery                   No.    16cv02287-BAS (JLB)

I hereby certify that on September 29, 2016, I electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:
                                  NOTICE OF APPEARANCE
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
September 29, 2016, I have caused to be mailed in the Office of the Attorney General's internal
mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
it to a third party commercial carrier for delivery within three (3) calendar days to the following
non-CM/ECF participants:


Demetrius Sissac
#AR3472
Calipatria State Prison
P.O. Box 5002
Calipatria, CA 92233


I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on September 29, 2016, at San Diego,
California.


                   B. Romero
                   Declarant                                           Signature

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